          Case 4:05-cr-00330-JLH Document 85 Filed 08/30/13 Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA                                                              PLAINTIFF

v.                                 NO. 4:05CR00330-01 JLH

BRIAN MONQUEZ MCMILLER                                                             DEFENDANT

                                            ORDER

       On August 22, 2013, Assistant Federal Public Defender Chris Tarver was appointed to

represent defendant Brian Monquez McMiller with respect to revocation matters. Attorney Patrick J.

Benca appeared on behalf of the defendant as retained counsel during the initial appearance hearing

before United States Magistrate Judge H. David Young on August 27, 2013.

       IT IS HEREBY ORDERED that Patrick J. Benca is hereby substituted as counsel of record

for defendant Brian Monquez McMiller, and Chris Tarver is relieved from any further representation

of defendant in this matter.

       IT IS SO ORDERED this 30th day of August, 2013.




                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
